                           Fourth Court of Appeals
                                  San Antonio, Texas
                                        April 14, 2020

                                     No. 04-20-00047-CV

                                       Richard LARES,
                                          Appellant

                                               v.

                                       Martha MUÑIZ,
                                          Appellee

                  From the 45th Judicial District Court, Bexar County, Texas
                               Trial Court No. 2006-CI-15663
                           Honorable Peter Sakai, Judge Presiding


                                        ORDER
       Appellant Richard Lares is currently an inmate and is acting pro se in this appeal. The
underlying suit began as a divorce proceeding. On February 6, 2020, Appellant filed a notice of
appeal complaining of the trial court’s “Judgment of January 14, 2020.”
        The clerk’s record does not show a final judgment or appealable order signed on January
14, 2020. The clerk’s record does show the trial court’s handwritten notes from that date, but a
judge’s notes “are not the kind of document[] that constitute[s] a judgment, decision or order
from which an appeal may be taken,” see Goff v. Tuchscherer, 627 S.W.2d 397, 398–99 (Tex.
1982); In re Rivera, No. 04-12-00025-CV, 2012 WL 219591, at *1 (Tex. App.—San Antonio
Jan. 25, 2012, no pet.) (mem. op.) (“A copy of the judge’s notes in place of an order is not
sufficient.”); see also In re A.W., 384 S.W.3d 872, 873 (Tex. App.—San Antonio 2012, no pet.)
(“[A] judge’s notes are for his or her own convenience and form no part of the record.”).
       On March 24, 2020, we ordered Appellant to show cause in writing by April 8, 2020,
why this appeal should not be dismissed for want of jurisdiction. See TEX. R. APP. P. 42.3(a).
        On the due date, we received Appellant’s response stating he did not receive the order
until March 30, 2020, and because of the COVID-19 disruptions, he has not been able to access
the record to prepare a response.
       Appellant’s motion for extension of time to file a response is GRANTED. We ORDER
Appellant to show cause in writing within FIFTEEN DAYS of the date of this order why this
appeal should not be dismissed for want of jurisdiction. If Appellant does not timely provide
written proof as ordered, this appeal will be dismissed without further notice. See id.       All other appellate deadlines are SUSPENDED pending further order of this court.




                                                  _________________________________
                                                  Patricia O. Alvarez, Justice


       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 14th day of April, 2020.



                                                  ___________________________________
                                                  Michael A. Cruz,
                                                  Clerk of Court
